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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

DONNA CAVE, JUDITH LANSKY, PAT
PIAZZA, and SUSAN RUSSELL                                                           PLAINTIFFS

v.                               Case No. 4:18-cv-00342 KGB

MARK MARTIN, Arkansas Secretary of
State, in his official capacity                                                    DEFENDANT

                               INITIAL SCHEDULING ORDER

       Pursuant to the initial appearance entered by defendant in this case on June 13, 2018, the
following deadlines and proposals are in effect:

 1.     RULE 26(f) CONFERENCE DEADLINE:                                           August 13, 2018

The parties are jointly responsible for holding their Rule 26(f) conference on or before the date
specified.

 2.     RULE 26(f) REPORT DUE DATE:                                               August 27, 2018

Consult FRCP 26(f) and Local Rule 26.1 for information to be included in the Rule 26(f) Report.
The Report should be filed with the Clerk of the Court.

 3.     PROPOSED TRIAL DATE:                                                        June 10, 2019

The case will be scheduled for JURY Trial before United States District Judge Kristine G. Baker
commencing at 9:00 a.m. sometime during the week as set for above in the Richard Sheppard
Arnold United States Courthouse, Courtroom #4C, 500 West Capitol, Little Rock, Arkansas
72201.

 4.     RULE 16(b) CONFERENCE:                                             (Scheduled if needed)

        A telephone conference will be scheduled within one week of the filing of the Rule 26(f)
Report, if the parties request a conference or if the Court determines a conference is necessary, to
resolve any conflicts among the parties with the proposed deadlines, proposed trial date, and other
matters addressed in the Rule 26(f) Report. Attached is a proposed final scheduling order with
proposed deadlines for the parties’ consideration during the Rule 26(f) conference. Unless the
parties object, the proposed scheduling order will become the Court’s Final Scheduling Order and
will be issued without a conference.

       It will be the responsibility of the plaintiff to serve a copy of the Initial Scheduling Order
on any defendant who makes an appearance after the Initial Scheduling Order has been filed. It
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will be the responsibility of the party filing a new claim after the date of the Initial Scheduling
Order to serve immediately a copy of the Initial Scheduling Order on any new defendant(s).

       Dated: Thursday, June 14, 2018

                                                      AT THE DIRECTION OF THE COURT
                                                      JAMES W. McCORMACK, CLERK


                                                      By _/s/ Tracy M. Washington _
                                                              Courtroom Deputy




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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

DONNA CAVE, JUDITH LANSKY, PAT
PIAZZA, and SUSAN RUSSELL                                                           PLAINTIFFS

v.                               Case No. 4:18-cv-00342 KGB

MARK MARTIN, Arkansas Secretary of
State, in his official capacity                                                    DEFENDANT

                         PROPOSED FINAL SCHEDULING ORDER

       Pursuant to Rule 16 of the Federal Rules of Civil Procedure, IT IS HEREBY ORDERED:

1.   TRIAL DATE

This case is scheduled for JURY trial before United States District Judge Kristine G. Baker
commencing at 9:00 a.m. sometime during the week of June 10, 2019, in the Richard Sheppard
Arnold United States Courthouse, Courtroom #4C, 500 West Capitol, Little Rock, Arkansas
72201.

Any trial conflicts indicated by the parties in their Rule 26(f) Report will be addressed closer to
this trial date, if the conflict has not been resolved.

2.   ADDITION OF PARTIES/AMENDMENT OF PLEADINGS

Leave to add parties or amend pleadings must be sought no later than December 17, 2018.

3.   DISCOVERY

Discovery should be completed no later than March 27, 2019. The parties may conduct discovery
beyond this date if all parties are in agreement to do so. The Court, however, will not resolve any
disputes in the course of this extended discovery. All discovery requests and motions must be
filed sufficiently in advance of the discovery deadline set forth in this order to allow for a timely
response. Witnesses and exhibits not identified in response to appropriate discovery may not be
used at trial except in extraordinary circumstances.

A discovery motion must not be filed until counsel has made a good faith effort to resolve the
discovery dispute, in compliance with Local Rule 7.2. When a discovery motion is filed, a
response should be filed promptly. A conference call will be scheduled to resolve such matters, if
the Court deems it necessary.
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4.   EXPERT DISCLOSURES AND REPORTS

Case-in-chief expert disclosures, including reports, must be made by January 11, 2019.

Rebuttal expert disclosures, including reports, must be made by February 11, 2019.

These disclosures must be in writing, signed, and served. They are not filed in the Clerk’s Office.

5.   STATUS REPORT

A status report must be filed with the Clerk’s office on or before April 11, 2019. The report must
include the date and results of any settlement conference, the settlement prospects, and an estimate
of the length of trial.

6.   MOTION DEADLINE

All motions, except motions for class certification and motions in limine, must be filed on or before
April 11, 2019. Motions for summary judgment must comply with Federal Rules of Civil
Procedure and Local Rules 7.2 and 56.1.

Motions filed pursuant to Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993), must
be filed on or before April 11, 2019. They shall not be filed as a motion in limine.

Pursuant to Local Rule 26.1, motions for class certification must be filed 90 days after the Rule
26(f) conference; therefore, any motions for class certification are due on or before November 13,
2018.

Motions in limine must be filed on or before May 28, 2019 and responses must be filed seven (7)
days thereafter. Motions submitted after the deadline may be denied solely on that ground.

Local Rule 7.2(b) requires that, within fourteen (14) days from the date copies of a motion and
supporting papers have been served, any party opposing a motion shall serve and file with the
Clerk a concise statement in opposition to the motion with supporting authorities. Any reply to a
response to a motion must be filed within seven (7) days of service of the response. The Court
may or may not wait on the filing of a reply before ruling on the motion.

7.   SETTLEMENT CONFERENCE REQUEST

All requests for a settlement conference must be made on or before April 26, 2019.

8.   PRETRIAL DISCLOSURE SHEET

Pretrial disclosure sheets must be filed simultaneously by the parties according to the outline
contained in Local Rule 26.2 no later than May 21, 2019. That witnesses and exhibits must be


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listed on the pretrial information sheet does not relieve a party of the obligation to provide the
names of witnesses and exhibits in response to discovery requests.

Objections to opposing parties’ pretrial disclosure sheets will be due on May 28, 2019.

9.   TRIAL BRIEF

All trial briefs must be filed no later than May 21, 2019. Responding trial briefs must be filed no
later than May 28, 2019.

10. DEPOSITIONS TO BE USED AT TRIAL OTHER THAN FOR IMPEACHMENT

The proffering party must designate the pertinent portions of a deposition to be used as evidence
at trial by May 21, 2019. Counter-designations must be made by May 28, 2019. These
designations need not be filed with the Court but should be exchanged by the parties.

Objections to any deposition or videotapes that will be used at trial must be made by written motion
indicating the specific objection and its legal basis by May 31, 2019, with the response due June 5,
2019. Depositions to be read at trial must be marked as exhibits.

11. JURY INSTRUCTIONS AND STATEMENT OF CASE OR PROPOSED FINDINGS
AND CONCLUSIONS

For jury trials, the parties must confer regarding the proposed instructions and a verdict form in an
attempt to narrow areas of disagreement. The parties must submit an agreed set of instructions on
specific issues in the case to the Court on or before June 3, 2019. Standard instructions from AMI,
Eighth Circuit, or Federal Jury Practice Instructions (5th Edition), as applicable, should be used
whenever possible, and the source of authority for the instruction should be noted at the end of
each instruction.

A party requesting an instruction that cannot be agreed upon must submit that instruction to the
Court and opposing counsel, setting out the disagreement. Note the source of authority on the
bottom of each proposed instruction. Instructions must be electronically submitted in Word or
WordPerfect format to kgbchambers@ared.uscourts.gov.

Each party must submit to the Court on or before June 3, 2019 a concise statement of the case, no
more than one page in length, that it proposes would be proper to read to the panel of venire persons
during voir dire and also any proposed voir dire questions it wishes the Court to pose to the panel.

12. STIPULATIONS

The parties should stipulate in writing to the facts not in controversy on or before June 3, 2019.




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13. INTRODUCTION OF EXHIBITS

Exhibits must be made available to all parties and reviewed by counsel prior to the trial date. Each
party will provide to the Court three (3) copies of all exhibits, and each exhibit will be numbered
for identification purposes. All exhibits must be listed in numerical sequence on the form available
through the Court’s website (See Court Forms - Civil Forms AO-187 Exhibit and Witness List).
The lists must be submitted to the Courtroom Deputy thirty (30) minutes before the beginning of
trial, with notations made on the Court’s copy of the list noting exhibits to which there is an
objection. The Court will receive all stipulated exhibits at the beginning of the trial.

If you anticipate using electronic equipment during trial, you must notify the Courtroom Deputy
prior to your trial date. If you wish to bring electronic devices to the courthouse for any
proceeding, please note Amended General Order No. 54.

14.    CONFLICTS OF INTEREST

Counsel must promptly check the Court’s list of financial interests on file in the U.S. District Court
Clerk’s Office to determine whether there is any conflict that might require recusal. If any party
is a subsidiary or affiliate of any company in which the Court has a financial interest, bring that
fact to the Court’s attention immediately.

Please     communicate         with      Tracy      Washington       at     501-604-5424     or
tracy_washington@ared.uscourts.gov to ascertain your position on the calendar as the trial date
approaches. In the event of settlement, advise Ms. Washington immediately. The case will not be
removed from the trial docket until an order of dismissal has been entered.

Dated: Thursday, June 14, 2018

                                                       AT THE DIRECTION OF THE COURT
                                                       JAMES W. McCORMACK, CLERK

                                                       By: /s/ Tracy M. Washington_
                                                               Courtroom Deputy




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